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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 17-60022-CR-BLOOM

 UNITED STATES OF AMERICA,

                    Plaintiff,

 v.

 ESTEBAN SANTIAGO-RUIZ,

                   Defendant.
 ______________________________________/

              DEFENDANT SANTIAGO-RUIZ’S STATUS REPORT

       The Defendant, Esteban Santiago-Ruiz, through undersigned counsel, files

 this status report to address issues likely to be raised at the Status Conference

 scheduled for April 21, 2017, and states that:

       The undersigned are of course cognizant of the Court’s concerns about Mr.

 Santiago-Ruiz’s continued competency to stand trial.     Accordingly, they and the

 other members of the “defense” team, including the “member qualified by training

 and experience to screen individuals for the presence of mental or psychological

 disorders or impairments”, 1 strongly adhere to their self-imposed schedule to visit

 with him at a minimum twice weekly. While these sessions of course have multiple

 purposes, one of the primary ones is to monitor Mr. Santiago-Ruiz’s mental

 condition. The members of the “team” are unanimous in their opinion that he is



 1
  American Bar Association’s “Guidelines for the Appointment and Performance of
 Defense Counsel in Death Penalty Cases” § 4A1.2 (2003).
                                         1
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 faring well under his current medication regimen and is thus capable of assisting

 them properly in his defense.

 Respectfully submitted,                     Respectfully submitted,

 MICHAEL CARUSO                              MICHAEL CARUSO
 FEDERAL PUBLIC DEFENDER                     FEDERAL PUBLIC DEFENDER
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 Hector A. Dopico                            Eric M. Cohen
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                            CERTIFICATE OF SERVICE

       I hereby certify that on April 17, 2017, undersigned electronically filed the

 foregoing document with the Clerk of the Court using CM/ECF and has served same

 via U.S. Mail to those counsel(s) who are not authorized to receive electronically

 Notice of Electronic Filing.



                                        s/ Eric M. Cohen
                                       Eric M. Cohen




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